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10
     Attorneys for Plaintiffs and the Putative Class
11
12                               UNITED STATES DISTRICT COURT
13
                                CENTRAL DISTRICT OF CALIFORNIA
14
15   CARL CURTIS, an individual;                  )    Case No.: 2:15-cv-02480
                                                  )
     ARTHUR WILLIAMS, an individual,              )
16                                                     Assigned to: Otis D. Wright II
                                                  )
17                Plaintiffs,                     )
                                                  )    CLASS ACTION
18                                                )
           v.                                     )    PLAINTIFFS’ MOTION TO
19                                                )    ALTER OR AMEND JUDGMENT,
                                                  )    OR IN THE ALTERNATIVE,
     IRWIN INDUSTRIES, INC.,                      )
20                                                     MAKE ADDITIONAL FINDINGS;
     a California corporation; and                )    SUPPORTING MEMORANDUM
21   DOES 1 through 100, inclusive,               )    OF POINTS AND AUTHORITIES
                                                  )
22                                                )
                  Defendants.                     )    (Removed from Santa Barbara County
23                                                )    Superior Court Case No. 1487049)
                                                  )
24                                                )    [Complaint filed: February 17, 2015]
                                                  )
25                                                )    Date:        January 11, 2016
                                                  )    Time:        1:30 p.m.
26                                                )    Judge:       Hon. Otis D. Wright II
                                                  )    Courtroom:   11
27                                                )
                                                  )
28                                                )
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                           PLAINTIFFS’ MOTION TO ALTER OR AMEND JUDGMENT,
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 1         PLEASE TAKE NOTICE THAT Plaintiffs Carl Curtis and Arthur Williams,
 2   on behalf of themselves and all those similarly situated (hereinafter “Plaintiffs”), by and
 3   through undersigned counsel, will respectfully move this court under Rule 59(e) of the
 4   Federal Rules of Civil Procedure to alter or amend its judgment entered on November
 5   12, 2015. [Docket 29, hereinafter “the Order” or “the Court’s Order”)].
 6         In the alternative, Plaintiffs move this Court under Rule 52(b) of the Federal
 7   Rules of Civil Procedure to make additional findings in its Order. Said motion is
 8   scheduled to be heard on Monday, January 11, 2016, in the above-captioned
 9   courthouse, in courtroom 11, before the Honorable Otis D. Wright II.
10         As explained in the accompanying Memorandum of Points and Authorities, the
11   Court’s decision was based on a clear error of law. For this reason, the Plaintiffs
12   respectfully request that (1) this motion be granted; (2) the Order of November 12, 2015
13   be vacated; and (3) summary judgment be denied.
14         In the alternative, Plaintiffs request that the Order be clarified for meaningful
15   appellate review by making additional findings.
16         This motion is made following the conference of counsel pursuant to Local Rule
17   7-3 which took place on December 3, 2015.
18   Dated: December 10, 2015               STRAUSS & PALAY, APC
19
20                                        By:        /s/
                                                Michael A. Strauss, Esq.
21                                              Andrew C. Ellison, Esq.
22                                              Attorneys for Plaintiffs and the Putative Class

23
     Dated: December 10, 2015               STRAUSS LAW GROUP, APC
24
25                                        By:        /s/
26                                              Anthony R. Strauss, Esq.
                                                Aris E. Karakalos, Esq.
27                                              Attorneys for Plaintiffs and the Putative Class
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                          PLAINTIFFS’ MOTION TO ALTER OR AMEND JUDGMENT,
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
     I.     Timeliness of Motion
 2
            “On a party’s motion filed no later than 28 days after the entry of judgment, the
 3
     court may amend its findings – or make additional findings – and may amend the
 4
     judgment accordingly”. Fed. R. Civ. P. 52(b). “A motion to alter or amend a judgment
 5
     must be filed no later than 28 days after the entry of the judgment.” Fed. R. Civ. P.
 6
     59(e).1 The 28th day following entry of the Order is December 10, 2015. Thus, this
 7
     motion is timely.
 8
     II.    Grounds for FRAP 52(b) and 59(e) Motions
 9
            A motion to reconsider under Rule 59(e) should be granted to correct a clear
10
     error, whether of law or of fact, and to prevent a manifest injustice. Firestone v.
11
     Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996) (the four grounds for reconsideration
12
     are: to prevent manifest injustice, to accommodate for an intervening change in
13
     controlling law, to account for newly discovered evidence, or to correct clear error of
14
     fact or law); EEOC v. Lockheed Martin Corp., 116 F.3d 110, 112 (4th Cir. 1997).
15
     Similar to Rule 59(e), one of the purposes of Rule 52(b) is to provide the court an
16
     opportunity to correct manifest errors of law or fact. Pro Edge L.P. v. Gue, 377
17
     F.Supp.2d 694, 698 (N.D. Iowa 2005); Padilla v. Miller, 143 F.Supp.2d 479, 487 (M.D.
18
     Pa. 2001) (“To prevail on a motion to amend ... the movant must show that the motion
19
     is necessary to correct manifest errors of law or fact.”).
20
            So long as the Rule 59(e) motion is timely filed, the courts have considerable
21
     discretion. Lockheed Martin Corp., 116 F.3d at 112. Although the courts are not
22
     required to consider new legal arguments, or mere restatements of old facts or
23
24
     1
25     Plaintiffs will wait before filing a potential notice of appeal until a ruling has been made on this
     particular motion. Under Federal Rule of Appellate Procedure 4, a notice of appeal “must be filed
26   with the district clerk within 30 days after entry of the judgment or order appealed from.” Fed. R. App.
     P. 4(a)(1)(A). However, Rule 4(a)(4)(A) lists a number of post-judgment motions that toll the period
27   for filing a notice of appeal, including motions under FRCP 52(b) and 59(e). Fed. R. App. P.
     4(a)(4)(A)(ii), (iv).
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                             PLAINTIFFS’ MOTION TO ALTER OR AMEND JUDGMENT,
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 1   arguments, the court can and should correct clear errors in order to “preserve the
 2   integrity of the final judgment.” Turkmani v. Republic of Bolivia, 273 F. Supp. 2d 45,
 3   50 (D.D.C. 2002).
 4   III.   Relevant Procedural History
 5          On February 17, 2015, Plaintiffs filed suit against Defendant. On April 1, 2015,
 6   Plaintiffs filed a First Amended Complaint (“FAC”). The FAC alleges: (1) minimum
 7   wage violations [Labor Code Section 1194, 1197]; (2) pay stub violations [Labor Code
 8   Section 226]; (3) unfair competition [Business and Prof. Code Section 17200]; (4)
 9   failure to timely pay final wages [Labor Code Section 203]; (5) failure to provide lawful
10   meal and rest periods [Labor Code Sections 226.7, 512]; (6) failure to pay overtime and
11   double-time premium wages [Labor Code Section 510]; and (7) civil penalties under
12   PAGA [Labor Code Sections 2698, et seq.].
13          During their employment Plaintiffs were members of the United Steel, Paper, and
14   Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service Workers
15   International Union, Local 1945 (the “Union”). On behalf of its members, the Union
16   and Defendant entered two Collective Bargaining Agreements (“CBAs”), which
17   provide that “the grievance [process outlined in the Agreement] and arbitration process
18   will be used to settle issues that cannot be resolved through discussion and mutual
19   agreement.” [CBA1, Section 13.1; see also, CBA2, Section 14.1]. The Agreements
20   cover wage disputes and state that “[a]ny alleged violation of any applicable wage order
21   shall be resolved exclusively under and in accordance with the procedure for settlement
22   of grievances and disputes set forth in this Agreement.” [CBA1, Section 14.11; CBA2,
23   Section 15.11].
24          Defendant moved to dismiss Plaintiffs’ FAC on the grounds that: (1) Plaintiffs’
25   claims are preempted by § 301 of the Labor Management Relations Act (“LMRA”); (2)
26   Plaintiffs failed to exhaust their contractual remedies; (3) Plaintiffs are exempt from all
27   California overtime requirements under Labor Code Section 514 and California
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                          PLAINTIFFS’ MOTION TO ALTER OR AMEND JUDGMENT,
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 1   Industrial Wage Order No. 16; and (4) Plaintiffs’ reliance on state law is misplaced
 2   because the instant action is governed exclusively by federal law.
 3         Plaintiffs opposed the motion claiming that the OCSLA does not preclude the
 4   application of California labor law and that the matter is not subject to arbitration
 5   because the Plaintiffs did not specifically waive their statutory claims under either of
 6   the relevant Collective Bargaining Agreements (CBA1 and CBA2).
 7   IV.   Manifest Errors of Law and Unresolved Issues
 8         The Court granted Defendants Motion to Dismiss but did not address the
 9   applicability of the OSCLA. The Court’s Order did, however, hold that Plaintiffs’
10   claims are preempted by federal law and ordered the parties to proceed to arbitration
11   pursuant to the terms of the CBAs.
12         A.     Statutory Claims for Minimum Labor Standards are Not Preempted.
13         This Court’s Order does not address the merits of arguments raised by Plaintiffs
14   in their Opposition – namely that the preemptive reach of Section 301 does not extend
15   to “nonnegotiable rights conferred on individual employees as a matter of state law….”
16   E.g., Livadas v. Bradshaw, 512 U.S. 107, 123 (1994); Allis-Chalmers Corp. v. Lueck,
17   472 U.S. 202, 212 (1985) (“it would be inconsistent with congressional intent under that
18   section [301] to preempt state rules that proscribe conduct, or establish rights and
19   obligations, independent of a labor contract.”).
20         The U.S. Supreme Court, the Ninth Circuit and California courts have all
21   uniformly held that claims for the violation of California’s statutory minimum labor
22   standards – such as the claims alleged herein – are not preempted under Section 301 of
23   the LMRA. See Livadas, 512 U.S. at 125; Balcorta v. Twentieth Century-Fox Film
24   Corp., 208 F.3d 1102 (2000) (requiring that discharged employees in the motion picture
25   industry be paid within a specified period of time); Lujan v. So. Cal. Gas Co., 96
26   Cal.App.4th 1200 (2002) (the court found no preemption of overtime claims, despite the
27   fact that the CBA purported to establish and govern the overtime plan).
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                          PLAINTIFFS’ MOTION TO ALTER OR AMEND JUDGMENT,
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 1         Under this standard, Plaintiffs’ statutory claims are simply not preempted under
 2   Section 301.      Nor are they otherwise subject to arbitration because none of the
 3   applicable statutes is expressly articulated in the terms of either CBA.
 4         B.       Which Specific Claims are Being Compelled to Arbitration?
 5         The Court’s Order does not specifically address which of Plaintiffs’ various
 6   statutory claims are being compelled to arbitration. Assuming that this Court intended
 7   for all claims be compelled to arbitration, such a finding is a manifest error of law. As
 8   highlighted in Plaintiffs’ Opposition to Defendant’s Motion to Dismiss, the U.S.
 9   Supreme Court has held that a court may not infer from a general arbitration agreement
10   that the parties intended to waive the right to litigate a statutorily protected right.
11   Wright v. Universal Maritime Service Corp., 525 U.S. 70, 80 (1998). Any waiver must
12   be “clear and unmistakable.” Metro. Edison Co. v. NLRB, 460 U.S. 693, 708 (1983).
13   Courts require a higher showing because “the right to a federal judicial forum is of
14   sufficient importance to be protected against less-than-explicit union waiver” in a
15   collective bargaining agreement. Wright, 525 U.S. at 80.
16         Assuming the CBAs apply, the ultimate test is whether the applicable CBA
17   expressly and specifically mentions the specific statute at issue. If so, the dispute is
18   likely subject to arbitration. 14 Penn Plaza, LLC v. Pyett, 556 U.S. 247, 274 (2009). If
19   not, the claim proceeds to litigation. Id.; See also, Martinez v. J. Fletcher Creamer &
20   Son, Inc., CV 10-0968-PSG, 2010 WL 3359372, *5 (C.D. Cal. Aug. 13, 2010)(finding
21   no clear and unmistakable agreement to compel arbitration of Labor Code violations
22   where the incorporated wage order did not explicitly reference the relevant statutory
23   provisions).
24         None of the above-mentioned statutorily-guaranteed claims is specifically
25   referenced in the CBAs so as to warrant them being compelled to arbitration.
26         Moreover, the CBAs are void of any specific reference to California Labor Code
27   Sections so as to warrant a finding that Plaintiffs clearly and unmistakably agreed to
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                           PLAINTIFFS’ MOTION TO ALTER OR AMEND JUDGMENT,
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 1   arbitrate their claims. With respect to overtime, the CBAs both provide that “when
 2   employees work overtime hours as defined by the State of California, a premium on all
 3   such hours will be paid by the Company” [CBA1, Section 14.8; CBA2, Section 15.8].
 4   With respect to “paid breaks” the CBAs both provide that “[e]mployees are entitled to
 5   paid breaks in accordance with California law and Company policy.” [CBA1, Section
 6   14.13; CBA2, Section 15.13]. With respect to “any alleged violation of any applicable
 7   wage order” the CBAs both provide that “[t]he parties to this Agreement recognize and
 8   agree that Industrial Wage Order 16-2001 covers the Company’s operation and
 9   recognize the applicability of an incorporate the provisions of Industrial Wage Order
10   16-2001, or any Industrial Welfare Commission wage order determined to be
11   applicable, to work performed under this Agreement.” [CBA1, Section 14.11; CBA2,
12   Section 15.11].
13         The above provisions make only very general reference to two claims at best –
14   unpaid overtime and unpaid meal breaks. But even reference in the CBAs to these
15   claims is far too general to satisfy the specificity requirements articulated in Wright and
16   Martinez. Again, for arbitration to be compelled, the applicable statute must have been
17   expressly mentioned in the terms of the CBA. None of the statutes that Plaintiffs’
18   claims fall under are expressly mentioned in the CBAs. The only provision referenced
19   with specificity in the CBAs is Wage Order 16-2001. But as expressed in Martinez
20   incorporation by reference is too far removed (“one step removed from their alleged
21   incorporation in the CBA”) to be considered a “clear and unmistakable” waiver.
22   V.    Assuming the Labor Code Claims are Subject to Arbitration, the PAGA
23         Claims Clearly are Not.
24         This Court should, at a minimum, clarify or make further findings as to how
25   Plaintiffs’ PAGA (Private Attorney General Act of 2004) claims are to be handled in
26   light of the fact that the California Supreme Court in Iskanian v. CLS Transportation
27   Los Angeles LLC, 59 Cal.4th 348, 360 (2014) held that that representative PAGA
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                          PLAINTIFFS’ MOTION TO ALTER OR AMEND JUDGMENT,
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 1   claims are unwaivable under California law. Are Plaintiffs’ PAGA claims also being
 2   compelled to arbitration? Such a finding runs contrary to the law, especially since the
 3   CBAs make no reference to the PAGA statute. As Iskanian reasoned, waivers of
 4   representative PAGA claims are against public policy, because they “disable one of the
 5   primary mechanisms for enforcing the Labor Code,” and a private agreement may not
 6   contravene a law established for a public reason. The PAGA “authorizes an employee
 7   to bring an action for civil penalties on behalf of the state against his or her employer
 8   for Labor Code violations committed against the employee and fellow employees, with
 9   most of the proceeds of that litigation going to the state.” Iskanian, 59 Cal.4th at 360.
10   Thus, a PAGA claim is a type of government enforcement action where the
11   representative employee acts as the state’s proxy. The Ninth Circuit in Sakkab v.
12   Luxottica Retail North America Inc., 9th Cir., Case No. 13-55184, recently held
13   (September 28, 2015) that the FAA does not preempt the Iskanian rule prohibiting
14   waiver of representative claims under PAGA.
15   VI.   Which Parties are Being Ordered to Arbitration Remains Unclear.
16         During the meet and confer process, it has become clear that Plaintiffs disagree
17   with Defendant regarding which parties are being compelled to arbitration. Defendants
18   insist that the Union, not the Plaintiffs, is the only entity with standing to initiate
19   arbitration pursuant to the CBAs. This Court should clarify this point. In clarifying,
20   Plaintiffs urge the Court to consider the general mistrust of arbitration as an adequate
21   forum for statutory claims as expressed by the Supreme Court in Alexander v. Gardner-
22   Denver, 415 U.S. 36, 40-43, 52 (1974) (See also Gilmer v. Interstate/Johnson Lane
23   Corp., 500 U.S. 20, 24 (1991); 14 Penn Plaza, LLC, supra, 556 U.S. 247), especially in
24   the context of unions:
25                “It is true, of course, that a union may waive certain statutory
                  rights related to collective activity, such as the right to strike.
26                These rights are conferred on employees collectively to foster
                  the processes of bargaining and properly may be exercised or
27                relinquished by the union as collective-bargaining agent to
                  obtain economic benefits for union members. Title VII, on the
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                          PLAINTIFFS’ MOTION TO ALTER OR AMEND JUDGMENT,
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                  other hand, stands on plainly different ground; it concerns not
 1                majoritarian processes, but an individual’s right to equal
                  employment opportunities. Title VII’s strictures are absolute
 2                and represent a congressional command that each employee be
                  free from discriminatory practices.”
 3
     Id. at 51-52. Since 1974, the Court has extended this same principle to claims under
 4
     employment statutes. (Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728,737
 5
     (1981) [recognizing the federal policy behind encouraging arbitration where a claim
 6
     was brought under the Fair Labor Standards Act, 29 U.S.C. §§ 201- 219, but concluding
 7
     that an employee’s specific, substantive rights would be intolerably compromised by
 8
     mandatory arbitration of claims “arising out of a statute designed to provide minimum
 9
     substantive guarantees to individual workers”]);
10
            Plaintiffs also remind this Court to take into account the fact that they are no
11
     longer members of the Union. Therefore, if the Union is found to be the only party with
12
     standing to pursue claims in arbitration, it would appear to leave Plaintiffs without
13
     recourse under the CBAs, or otherwise.
14
     VII.   The Court’s Order Ignores the Procedural Unconscionability of the CBAs.
15
            This Court’s Order is entirely silent on the unconscionability issue appearing on
16
     the face of the CBAs. Here, the CBAs limit the statute of limitations for Plaintiffs’
17
     claims to 30 days [CBA1, Section 13.4(a)(1); CBA2, Section 14.4(a)(1)]. But this
18
     contradicts California law, which otherwise provides for a three-year statute of
19
     limitations in most wage claims, and four years for claims under Business and
20
     Professions Code Section 17200. Civ. Code § 338; Bus. & Prof. Code § 17208.
21
     Moreover, it is unconscionable, as addressed by the Northern District in Zaborowski v.
22
     MHN Government Service, Inc., 936 F.Supp.2d 1145 (N.D. Cal. 2013), which held that
23
     a 180-day statute of limitations for an FLSA claim was substantively unconscionable.
24
     Id. at 1153, citing Armendariz v. Found. Health, 24 Cal.4th 83 (2000).
25
            Assuming the parties are being compelled to arbitration on all labor code claims,
26
     it is difficult to reconcile such a finding with the procedural unconscionability found on
27
     the face of the CBAs.
28
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 1   VIII. The Court Should Address the Applicability of the OCSLA.
 2         Assuming this Court amends its Order to find that some or all of Plaintiffs claims
 3   are not subject to arbitration, it would warrant an analysis of whether California Labor
 4   Code claims are precluded by the Outer Continental Shelf Lands Act (“Lands Act”).
 5   Although Plaintiffs briefed this issue extensively in their Opposition to Defendant’s
 6   Motion to Dismiss, the Court need only look to the first two sections of the Lands Act
 7   to recognize that its drafters intended to give the States the power to independently
 8   regulate the terms and conditions of employment for their citizens working on the
 9   Continental Shelf.
10         Section 1332, subsection (5), provides: “It is hereby declared to be the policy of
11   the United States that – . . . the rights and responsibilities of all States and, where
12   appropriate, local governments, to preserve and protect their marine, human, and
13   coastal environments through such means as regulation of land, air, and water uses, of
14   safety, and of related development and activity should be considered and recognized”
15   Section 1331, subsection (i), defines “human environment” as “the physical, social,
16   and economic components, conditions, and factors which interactively determine the
17   state, condition, and quality of living conditions, employment, and health of those
18   affected, directly or indirectly, by activities occurring on the outer Continental Shelf”
19   (emphasis added.).
20         It could not be any clearer that California has a vested right under the Lands Act
21   to regulate the employment conditions of its citizens working on the adjacent oil
22   platforms connected to the Outer Continental Shelf.
23   //
24   //
25   //
26   //
27   //
28
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 1   IX.   Conclusion
 2         The Court’s Order misconstrues well established principles of law and raises
 3   more questions than answers. For the foregoing reasons, Plaintiffs respectfully request
 4   that the Court grant their Motion to Alter or Amend the Judgment and vacate its Order,
 5   thereby permitting the matter to proceed to trial, or in the alternative, clarify its Order
 6   with respect to which claims are being compelled to arbitration, among other issues.
 7
 8   Dated: December 10, 2015               STRAUSS & PALAY, APC
 9
10                                        By:        /s/
                                                Michael A. Strauss, Esq.
11                                              Andrew C. Ellison, Esq.
12                                              Attorneys for Plaintiffs and the Putative Class

13
     Dated: December 10, 2015               STRAUSS LAW GROUP, APC
14
15                                        By:        /s/
16                                              Anthony R. Strauss, Esq.
                                                Aris E. Karakalos, Esq.
17                                              Attorneys for Plaintiffs and the Putative Class
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